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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 m 13 m 5= 32

 

 

RGBHW'H.SETRGUO
GLEHK,§?$.§HST CT
W.[j. C)F "E`i‘».§, F»/"E§\HFH!S

UNITED STATES OF AMERICA,
Plaintiff,

v. No. 04-20361 Ml

NEGASSI RICHARDSON,

Defendant.

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ORDER GRANTING MOTION TO CONTINUE SUPPRESSION HEARING

 

Before the Court is Defendant's Motion to Continue Suppression
Hearing, filed June 9, 2005. Good Cause having been shown, the
motion is hereby GRANTED and the suppression hearing in this matter
is RESET to Tnursdav, Auqust 4, 2005, at 2:30 a.m. This matter

remains set for report on Friday, July, 2005 at 9:00 a.m.

IT IS SO ORDERED this /:b day Of Jun€, 2005.

mr MMQ,O

PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

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UNITED sTATE DRISTIC COURT - WESTER D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 45 in
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Honorable J on McCalla
US DISTRICT COURT

